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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

   ULTRAVISION TECHNOLOGIES, LLC,

                     Plaintiff,              Case No. 2:19-cv-00291-JRG-RSP
   v.                                                  LEAD CASE

   HOLOPHANE EUROPE LIMITED,                  JURY TRIAL DEMANDED
   ACUITY BRANDS LIGHTING DE
   MEXICO S DE RL DE CV,
   HOLOPHANE, S.A. DE C.V. and
   ARIZONA (TIANJIN) ELECTRONICS
   PRODUCTS TRADE CO. LTD.,

                     Defendant.

   ULTRAVISION TECHNOLOGIES, LLC,

                     Plaintiff,
                                             Case No. 2:19-cv-00398-JRG-RSP
   v.
                                                    MEMBER CASE
   YAHAM OPTOELECTRONICS CO., LTD.
                                              JURY TRIAL DEMANDED
                     Defendant.




                YAHAM OPTOELECTRONICS CO., LTD.’S REPLY IN
            SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT RE
          NON-INFRINGEMENT OF U.S. PATENT NO. 8,870,410 (DKT. NO. 127)
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   Ex. A   U.S. Patent No. 8,870,410 (the “’410 Patent”)

   Ex. B   ’410 Patent file history, 2014-06-05 Applicant Amendment

   Ex. C   ’410 Patent file history, 2014-08-27 Notice of Allowance

   Ex. D   Expert Report of Zane Coleman Regarding Infringement of U.S. Patent No.
           8,870,410 (the “Coleman Report”)

   Ex. E   Rebuttal Expert Report of Thomas M. Katona Regarding Non-infringement (the
           Katona Report”)




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   I.     INTRODUCTION

          Ultravision has failed to raise any genuine issues of material facts. Thus, summary

   judgment is proper.

   II.    ARGUMENT

          A.      Ultravision’s Doctrine of Equivalents Arguments Lack Merits

          Ultravision does not dispute that the Accused Products do not comprise “acrylic material.”

   Resp. at 3 (SUMF ¶ 3 undisputed). Instead, Ultravision resorts to straw man and unsupported

   attorney arguments.

          As an initial matter, Ultravision’s reliance on Vasudevan Software, Inc. v. MicroStrategy,

   Inc., 782 F.3d 671, 683 (Fed. Cir. 2015) is misplaced. Resp. at 11. The Vasudevan court finds

   issue of material fact for the jury regarding whether the specification discloses how to access

   disparate databases. Id. (citing Provenz v. Miller, 102 F.3d 1478, 1490 (9th Cir.1996)). But there

   is no dispute whether the Accused Products comprise “acrylic material” here. Ultravision’s

   reliance on Metaswitch Networks Ltd. v. Genband US LLC, No. 2:14-CV-744-JRG-RSP, 2016 WL

   889217, at *2 (E.D. Tex. Mar. 8, 2016) is likewise misplaced. Resp. at 12. The issue in Metaswtich

   boils down to disagreement between the experts regarding the application of the court’s claim

   construction. Again, there is no such dispute regarding whether the Accused Products comprise

   “acrylic material.” Ultravision mischaracterizes Yaham’s argument regarding “acrylic material”

   as “                                                                            Resp. at 12. This

   is a straw man and a blatant attempt to manufacture a factual dispute. Indeed, Ultravision’s case

   law Flexuspine, Inc. v. Globus Med., Inc. is inapposite because the Flexuspine defendant did not

   move for summary judgment of non-infringement under the doctrine of equivalents. No. 6:15-

   CV-201-JRG-KNM, 2016 WL 9279998, at *7 (E.D. Tex. July 7, 2016), report and




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   recommendation adopted, No. 6:15-CV-201-JRG-KNM, 2016 WL 4254292 (E.D. Tex. Aug. 12,

   2016), aff’d, 879 F.3d 1369 (Fed. Cir. 2018).

                  1.      Ultravision is estopped from raising Doctrine of Equivalents

          Ultravision’s argument that the acrylic limitations were tangential and thus not subject to

   prosecution history estoppel ignores the law. Resp. at 14. First, the absence of the equivalents

   within the prior art does not make the equivalents tangential to the amendment. Cross Med. Prod.,

   Inc. v. Medtronic Sofamor Danek, Inc., 480 F.3d 1335, 1343 (Fed. Cir. 2007). Indeed, the patent

   applicant here explained to the examiner that “Guest, singly or in combination with Heller, does

   not teach or suggest plurality of optical elements comprising the acrylic material that protrudes

   out of the major surface of the acrylic material substrate.” Ex. B (‘410 File History, 06/05/2014

   Amendment to NFOA) at 11. Thus, the accused equivalent, which does not comprise “plurality of

   optical elements comprising the acrylic material that protrudes out of the major surface of the

   acrylic material substrate,” “correspondingly does not capture this aspect of the invention relates

   to the amendment as shown even by the applicant’s own statements.” Cross Med. Prod., 480 F.3d

   at 1343. This Court should follow Cross Med. Prod. and find Ultravision barred by prosecution

   history estoppel. Id. at 1344.

          Tellingly, Ultravision does not address Elkay Mfg. Co. v. Ebco Mfg. Co., 192 F.3d 973,

   979 (Fed. Cir. 1999). Mot. at 7. Indeed, “[a]rguments made during the prosecution of a patent

   application are given the same weight as claim amendments,” and it is irrelevant whether the

   patentee emphasized this argument at the time of prosecution or not. Id. The examiner’s reasons

   for allowance referencing the patent applicant’s 06/05/2014 Response to Office Action is also

   telling. Ex. C (‘410 File History, 08/27/2014 Notice of Allowance) at 2 (“present application is

   being allowed for the reasons stated in the Remarks dated 6/5/14”); see Elkay Mfg. Co., 192 F.3d




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   at 979 (finding disavowal based on the examiner’s reasons for allowance). A patentee must be

   held to its representations made to the examiner during prosecution to induce a patent grant. Id.

   (citing Standard Oil Co. v. Am. Cyanamid Co., 774 F.2d 448, 452 (Fed. Cir. 1985)).

          Ultravision’s attempt to manufacture a claim construction issue is likewise untenable.

   Whether a patentee is estopped from raising the doctrine of equivalents is perfectly appropriate for

   a summary judgment, as Ultravision’s own case law shows. Cross Med. Prod., Inc., 480 F.3d at

   1341-44. Indeed, Festo Corp. v. Shoketsu Kinzoku Kogyo Kabushiki Co. similarly supports the

   proposition that prosecution estoppel is for the court to determine based on prosecution history.

   344 F.3d 1359, 1370 (Fed. Cir. 2003). Ultravision’s argument is not supported by law, and

   summary judgment is proper.

                  2.      Ultravision’s argument against waiver lacks merits

          Ultravision argues that its preliminary infringement contentions provide sufficient notice

   to Yaham regarding its doctrine of equivalent theory. Resp. at 14-15. However, “catch-all

   language” or “broad conclusory allegations that the products are similar” are insufficient to explain

   the basis for the equivalency. See Alacritech Inc. v. CenturyLink, Inc., No. 2:16-CV-00693-JRG-

   RSP, 2017 WL 3007464, at *3-4 (E.D. Tex. July 14, 2017) (Payne, J.). Tellingly, Ultravision

   never addresses Sycamore IP Holdings LLC v. AT&T Corp. Mot. at 9 (citing No. 2:16-cv-588-

   WCB, 2017 WL 4517953, at *5 (E.D. Tex. Oct. 10, 2017) (allowing new infringement theories

   near the close of discovery prejudices the opposing side). Ultravision fails to show any legal

   support for its argument.

                  3.      Ultravision’s argument against claim differentiation lacks merits

          First, Ultravision seeks to hide behind a manufactured claim construction argument. Resp.

   at 15. There is no dispute over the constructions of the “acrylic” terms or whether the Accused

   Products comprise “acrylic material.” And Yaham is not requesting additional claim construction


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   as the Music Choice defendant did. Contra Music Choice v. Stingray Digital Grp. Inc., No. 2:16-

   CV-00586-JRG-RSP, 2019 WL 8110069, at *3 (E.D. Tex. Nov. 19, 2019) (denying requests for

   additional claim construction at the summary judgment stage.) Yaham simply illustrates that the

   word “acrylic” in claim 15 has a different meaning from claim 1, which recites “a substantially

   transparent substrate.” Ex. A at 8:37-38 (“a substantially transparent substrate comprising a

   plurality of optical elements”); Exxon Chem. Patents, Inc. v. Lubrizol Corp., 64 F.3d 1553, 1557

   (Fed. Cir. 1995) (every word in a claim has a meaning). Ultravision’s reliance on Music Choice

   is misplaced.

          Second, Ultravision never addresses Nystrom v. TREX Co., 424 F.3d 1136, 1143 (Fed. Cir.

   2005). Just as in Nystrom, claims 1 and 15 share a variety of claim elements, while one requires

   “a substantially transparent substrate” and the other requires “acrylic.” The patentee clearly drafted

   claim 1 more broadly than claim 15 relative to the material of the optical elements, and thus acrylic

   material/acrylic material substrate in claim 15 must be limited to the plain claim language—acrylic

   only. See id.; see also Freeny v. Fossil Grp., Inc., No. 2:18-cv-00049-JRG-RSP, 2019 WL

   2078783, at *7 (E.D. Tex. May 10, 2019) (Payne, J). Instead of responding to Nystrom or Freeny,

   Ultravision relies on an array of Dr. Coleman’s unsupported statements to argue that acrylic and

                            are interchangeable. Resp. at 16 (citing Ex. D (Coleman Report) at ¶ 152

   (

                                         .”)) Ultravision’s argument is not supported by law, and Dr.

   Coleman’s conclusory opinions serve no basis for the summary judgment dispute here. See Moore

   v. Int’l Paint, L.L.C., 547 F. App’x 513, 516 (5th Cir. 2013).




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          B.      There is No Genuine Dispute of Material Fact over Whether the Accused
                  Products Meet the 3:1 Ratio of the Average Illumination to the Minimum
                  Illumination

          Ultravision again asserts that this is a claim construction dispute. Resp. at 17. This is a

   straw man. Contra Music Choice, 2019 WL 8110069, at *3 (denying requests for additional claim

   construction at the summary judgment stage).

          None of the case law supports Ultravision’s position. See Hodosh v. Block Drug Co., 786

   F.2d 1136, 1143 (Fed. Cir. 1986) (finding that questions of material fact remains regarding terms

   used in prior art references; reversing summary judgment on invalidity over obviousness);

   Broadcom Corp. v. Qualcomm Inc., 543 F.3d 683, 696 (Fed. Cir. 2008) (finding it untimely to

   adopt detailed interpretation of claim language not presented to the jury at the JMOL stage).

          Additionally, Ultravision’s suggestion that the “3:1” limitation in claim 20 is unrelated to

   “evenly illuminates” limitation in claim 15 is absurd. Resp. at 18. First, claim 20 depends from

   claim 15, and thus claim 20 includes all of the limitations of claim 15. Second, the ‘410 Patent

   expressly provides “[w]hat is meant by “evenly” is that the illumination with a uniformity that

   achieves a 3:1 ratio of the average illumination to the minimum.” Ex. A (‘410 Patent) at 5:14-17.

   Ultravision’s argument ignores the plain language in the ‘410 Patent and carries no weight.

          Ultravision argues that evenly illumination has a uniformity ratio of 3:1 is only one

   embodiment of the ‘410 Patent. Resp. at 18. But Ultravision fails to identify any additional

   embodiments that suggest otherwise.

          Ultravision argues that Yaham fails to identify any lexicography or prosecution disavowal

   to limit “3:1” to “exactly” 3:1. Resp. at 18. Ultravision evidently does not think the plain language

   of claim 20 “a ratio of the average illumination . . . is 3:1” means anything.     Ex. A at 10:1-4.

   Additionally, Ultravision argues that the prosecution history of U.S. Patent No. 8,870,413 and the

   claim language in related patent U.S. Patent No. 9,947,248 do not support disclaimer. Resp. at 19.


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   But Ultravision fails to address binding authority set forth in Ormco Corp. v. Align Tech., Inc., 498

   F.3d 1307, 1314 (Fed. Cir. 2007) and Wang Labs., Inc. v. Am. Online, Inc., 197 F.3d 1377, 1384

   (Fed. Cir. 1999). Mot. at 11-12. Both Ormco and Wang Labs. stand for the proposition that

   prosecution disavowal applies to the common subject matter with respect to statements made in

   prosecuting familial applications. Ultravision cannot be permitted to contradict the plain claim

   language and binding case law.

          C.      Ultravision Cannot Prove that Each LEDs of the Accused Products Evenly
                  Illuminates Substantially the Entire Display Surface with a Substantially
                  Equal Level of Illumination

          Arguing otherwise, Ultravision resorts to an allegedly “extensive analysis” in the Coleman

   Report. Resp. at 2. But the report contains no analysis whatsoever of the how each one of the

   LEDs of the Accused Products, through the optical element disposed over it, illuminates the entire

   sign surface at a level of illumination that does not create noticeable unevenness in the overall

   illumination. Mot. at 13. Instead, Ultravision’s “argument” parrots the Coleman Report. Resp.

   at 20-21.

          Factual controversies are deemed in favor of the non-moving party in a summary judgment

   motion only when “both parties have submitted evidence of contradictory facts.” Little v. Liquid

   Air Corp., 37 F.3d 1069, 1075 (5th Cir. 1994). Indeed, “general assertions of facts, general denials,

   and conclusory statements are insufficient to shoulder the non-movant's burden.” TechSearch,

   L.L.C. v. Intel Corp., 286 F.3d 1360, 1372 (Fed. Cir. 2002). Expert opinions are likewise subject

   to the same rule when they are “wholly conclusory.” Id. Ultravision attempts to manufacture

   factual disputes between the experts, arguing that Yaham’s expert “disagrees with Dr. Coleman’s

   opinions regarding light distributions or the representativeness of his calculation.” Resp. 21-22.

   There is no factual dispute because Dr. Katona simply questions Dr. Coleman’s underlying

   assumptions and unsupported conclusions. Mot. 14 (citing Ex. E (Katona Report) ¶¶ 65, 67-68,


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   135, 142-145.) Here, Ultravision tries to bring in its manufactured arguments raised in its Motion

   to Strike Portions of the Katona Report.1 Resp. at 21-22. Yaham has addressed those contrived

   arguments in its response.2

            Ultravision again relies on Hodosh, inapposite to the case at hand because the issue there

   relates to terms used in prior art references. Resp. at 22 (citing 786 F.2d at 1143). Here, summary

   judgment is appropriate because Dr. Coleman’s opinions are conclusory and fail to provide

   sufficient explanations to its conclusions and assumptions. GTX Corp. v. Kofax Image Prod. Inc.,

   571 F. Supp. 2d 742, 751 (E.D. Tex. 2008) (finding the plaintiff’s expert opinions conclusory;

   holding that plaintiff “cannot survive summary judgment [of non-infringement] by offering

   unsupported attorney argument and conclusive expert statements.”)

   III.     CONCLUSION

            For the foregoing reasons, Yaham respectfully requests that the Court grant summary

   judgment that Yaham’s Accused Products do not infringe claim 15 and claim 20 of the ‘410 Patent.

   Dated: December 22, 2020                              Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

          The undersigned certifies that on December 22, 2020, all counsel of record who are deemed

   to have consented to electronic service are being served with a copy of this document through the

   Court’s CM/ECF system under Local Rule CV-5(a)(3).
                                                   /s/ Jeffrey L. Johnson
                                                   Jeffrey L. Johnson



                CERTIFICATE OF AUTHORIZATION TO FILE UNDER SEAL

          Pursuant to Local Rule 5(a)(7)(A), the undersigned hereby certifies that the corresponding

   document was filed under seal pursuant to Protective Order entered in this case, ECF No. 55.
                                                   /s/ Jeffrey L. Johnson
                                                   Jeffrey L. Johnson




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